Case 3:17-cv-01362 Document 1504-6 Filed 01/12/22 Page 1 of 12 PagelD #: 68467

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Drug Enforcement Administration
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Washington, D.C. 20537

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Chris Zimmerman, Director

Regulatory Compliance and

Security Services

Bergen Brusnwig Corporation

4000 Metropolitan Drive . i
Orange, CA 92868

Dear Mr. Zimmerman:

This is to grant approval of your request to implement on a
nationwide basis your newly developed system to identify and report
suspicious orders for controlled substances and regulated
chemicals, as required by Federal regulation. DEA managers who
have been involved with the testing of the system have relayed
their positive opinions regarding its ability to provide
information in a fashion which is not only useful overall, but is
also responsive to the needs of individual DEA offices.

; We appreciate the efforts you have undertaken to develop this
improved system and apologize for the lengthy approval process. It
did not seem appropriate to grant this approval prior to the
conclusion of the Suspicious Order Task Force formed as a result of

the Methamphetamine Control Act. Thank you for your patience in
this matter.

If you have any questions, please do not hesitate to call at
(202) 307-7297.

Sincerely,

Fatruuin ope

Patricia M. Good, Chief
Liaison and Policy Section
Office of Diversion Control

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AM-WV-00781

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ABDCMDLO00315783

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ap Via Certified Mail
5 Bergen Brunswig Corporation

 

4000 Metropolitan Drive, Grange, CA 92868 (714) 385-4000

May 20, 1998

Ms. Patricia M. Good

Chief, Liaison and Policy Section
Drug Enforcement Administration
United States Department of Justice
Washington, DC 20537

Dear Ms. Good,

The purpose of this letter is to serve as a follow up to previous written correspondence (copy
enclosed) and telephone conversations Bergen Brunswig Drug Company (BBDC) has had with the
Dmg Enforcement Administration (DEA) pertaining to BBDC’s newly developed system to monitor
and report customer orders of controlled substances (and now Listed Chemicals) which fit the
suspicious order criteria outlined in 21 CFR § 1301.74 (b).

The system is clearly described in the enclosed September 30, 1996 correspondence and per
instruction from Tom Gitchel, BBDC began beta-testing the new suspicious order reporting system
with the DEA Los Angeles (LA) Field Office in March 1997. Our BBDC Valencia Division began the
new suspicious order reporting to the LA-DEA Office on March 1, 1997; BBDC Corona Division
began reporting to the Riverside DEA Office on April 1, 1997, BBDC Hawaii began reporting to the
Hawaii-DEA Office on May 1, 1997; and BBDC Orlando began reporting to Tampa DEA Office on
June 1, 1997. All BBDC test divisions are currently reporting suspicious orders to DEA, via the auto-
fax function of the new reporting system.

We have had several conversations/meetings with Ms. Betsy Willis, Los Angeles DEA Diversion
Program Manager, Ms. Walencia Abrams, San Diego DEA Program Manager (former Los Angeles
Diversion Group Supervisor), Mr. Thomas Cox, DEA Riverside Diversion Group Supervisor, and Mr.
Arthur Fierman-Rentas, DEA Tampa Diversion Group Supervisor. All DEA personnel currently
involved with the beta-test program have been very pleased, and Ms. Willis has given BBDC
permission not to submit our Monthly ARCOS Suspicious Order Report (Variance Report) to DEA for
the BBDC Corona, Valencia, and Hawaii Divisions. (Correspondence enclosed)

The Methamphetamine Control Act requires distributors to report suspicious orders of Listed
Chemicals to DEA, 21 CFR 1310.05 (a)(1). BBDC’s new suspicious order reporting system will not
only apply to controlled substances, but will also include Listed Chemicals. In California, BBDC has
been utilizing the new reporting system to adhere to state requirements to report suspicious orders of
ephedrine and pseudoephedrine to the California Bureau of Narcotics and Dangerous Drugs.

BBDC has already made several changes to our proposed new reporting system at the direction of
the DEA field offices in which it is being tested. It has been an extremely positive experience working
closely with DEA to develop a suspicious order reporting system that benefits both the wholesaler and
DEA. I wanted to also acknowledge the efforts of Ms. Willis with regard to the successful beta-testing
of the new suspicious order reporting system. Ms. Willis’s cooperation and insight made the transition
from the traditional reporting system to the new reporting system seem effortless.

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‘Patricia M. Good - DEA
May 20, 1998
Page 2

We are confident that this new suspicious order reporting system will greatly benefit both BBDC
and DEA, and are ready to begin implementation of the new suspicious reporting system nationwide. I
believe that the new system will not only save both BBDC and DEA valuable time and resources, but
will also provide DEA with a much better tool to detect diversion. BBDC is still very excited about
this opportunity and would like to continue moving forward in the implementation of our new
suspicious order reporting system.

BBDC has approached other DEA Field Offices regarding the implementation and beta-testing of
our new suspicious order reporting system, however, those DEA Field Offices have indicated that they
would not implement the new reporting system until they received direction from Washington D.C.

During our last conversation you indicated that you would be meeting with the Program Managers
in March 1998, and BBDC’s new suspicious order reporting system was one of the items you were
going to discuss. I know you have been extremely busy over the past months and we have been unable
fo connect to discuss the possible implementation of BBDC’s new suspicious order reporting system.
BBDC is ready to implement the new system nationwide and we are requesting approval from your
department to begin implementing the new suspicious order reporting system at other DEA Field
Locations.

BBDC is committed to the success of this new system. If DEA has any questions or needs
additional information before approval can be granted, BBDC would welcome a meeting with DEA in
either Washington D.C. or our corporate headquarters in Orange, California. 1am looking forward to
your response, if you have any questions or need any additional information, please contact me at (714)
385-4267.

 

and Security Services

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ABDCMDLO00315785
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December 30, 1997

Mr. G. Thomas Gitchel

Chief, Liaison and Policy Section
Drug Enforcement Administration
United States Department of Justice
Washington, DC 20537

Dear Mr. Gitchel,

This letter serves as a follow up to previous wnitten correspondence (copy enclosed) and telephone
conversations Bergen Brunswig Drug Company (BBDC) has had with the Drug Enforcement
Administration (DEA) pertaining to BBDC’s newly developed system to monitor and report customer
orders of controlled substances which fit the suspicious order criteria outlined in 2] CFR § 1301.74 (b).

The system is clearly described in the enclosed September 30, 1996 correspondence, Per your
instruction, BBDC began “beta-testing” the new suspicious order reporting system with the DEA Los
Angeles (LA) Field Office in March 1997. Our BBDC Valencia Division began the new suspicious
order reporting to the LA-DEA Office on March |, 1997, BBDC Corona Division began the new
reporting to the Riverside DEA Office on April 1, 1997; BBDC Hawaii began this new reporting to
LA-DEA Office on May 1, 1997; and BBDC Orjando began the new reporting to the Tampa DEA
Office on June 1, 1997. Al] BBDC test divisions are currently reporting suspicious orders to DEA, via
the automated-fax function of the new reporting system.

We have had several conversations/meetings with Ms. Betsy Willis, DEA Diversion Program
Manager, Ms. Valencia Abrams, DEA Los Angeles Diversion Group Supervisor, Mr. Thomas Cox,
DEA Riverside Diversion Group Supervisor, and Mr. Arthur Fierman-Rentas, DEA Tampa Diversion
Group Supervisor. All DEA personne! currently involved with the beta-test program have been very
pleased, and Ms. Willis has given BBDC permission to discontinue the submission of our monthly
ARCOS Suspicious Order Report (Variance Report) to DEA for the BBDC Corona, Valencia, and
Hawaii Divisions. (Correspondence enclosed)

The Methamphetamine Control Act requires distributors to report suspicious orders of Listed
Chemicals to DEA. BBDC's new suspicious order reporting system will not only apply to controlled
substances, but will also include Listed Chemicals. In California, BBDC wil! begin utilizing the new
reporting system to adhere to state requirements to report suspicious orders of ephedrine and
pseudoephedrine to the Bureau of Narcotics and Dangerous Drugs in January 1998.

BBDC has approached other DEA Field Offices regarding the implementation and beta-testing of
our new suspicious order reporting system, however, those DEA Field Offices have indicated thut they
would not implement the new reporting system until they received direction from Washington D.C.

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ABDCMDLO00315786
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G. Thomas Gitchel - DEA
December 30, 1997
Page 2?

BBDC has already made several changes to our proposed new reporting system at the direction of
the DEA field offices in whose jurisdictions it is being tested. It has been an extremely posiuve
experience working closely with DEA to develop a suspicious order reporting system that benefits bath
the wholesaler and DEA. I would like to acknowledge the efforts of Ms. Willis with regard to the
successful beta-testing of the new suspicious order reporting system. Ms, Willis’s cooperation and
insight made the transition from the traditional reporting systern to the new reporting system seem
effortless.

We are confident that this new suspicious order reporting system will benefit both BBDC and DEA,
and are optimistic that we will be able to begin implementation of the new suspicious reporting system
nation wide. I believe that the new system will not only save both BBDC and DEA valuable time and
resources, but will also provide DEA with more useful tool with which to detect diversion, BBDC is
excited about this opportunity and would like to continue moving forward with the implementation of
our new suspicious order reporting system.

During our last conversation you indicated that you would be meeting with the Program Managers
and one of the items you would be to discussing was BBDC’s new suspicious order reporting system. I
know you have been extremely busy over the past couple months and we have been unable to connect
to discuss the possible implementation of BBDC's new suspicious order reporting system. BBDC is
ready to implement the new system nationwide and we are requesting approval from your department
to begin implementing the new suspicious order reporting system at other DEA Field Locations.

Tom, BBDC is committed to the success of this new systern. If DEA has any questions or needs
additional information before approval can be granted, BBDC would welcorne a meeting with DEA in
either Washington D.C. or our corporate headquarters in Orange, California. 1 am looking forward to
your response, if you have any questions, please contact me at (714) 385-4267.

Sincerely,
Chns Zimmennan

Director, Regulatory Compliance
and Security Services

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ABDCMDLO00315787

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U.S. Departm:’ ‘t of Justice

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pS, Drug Enforcement Administration
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Los Angeles Field Division
255 East Temple Street, 20th Floor
Los Angeles, Califorma 90012

 

 

October 3, 1997

Mr. Chnis Zimmerman
Bergen Brunswig Corporation
4000 Metropolitan Dnve
Orange, CA. 92668

Dear Mr, Zimmerman:

This letter is follow up to our conversations conceming Bergen Brunswig Corporauon'’s
continued filing of the excessive purchase monthly variance report. As discussed, ] have contacted
the Drug Enforcement Administration (DEA), Office of Diversion Control, Liaison and Policy
Section, concerning the legal obligation for Bergen Brunswig to file this report. I have received
concurrence that at those Bergen Brunswig facilities which unlize your new automated excess
purchase identification and reporting program, there is no Jega! requirement for continued ailing of
the monthly vaniance report.

Therefore, effective immediately, the Bergen Brunswig distribution centers jocated in
Valencia, California, Corona, California, and Honolulu, Hawaii may cease submitting the monthly
variance report to DEA. This authorization is contingent upon continued reporting via the
automated identification program. Any changes in these reporting procedures will require further
approval by this office.

This authorization is for the above mentioned Bergen Brunswig facilites within the
jurisdiction of the DEA Los Angeles Field Division only. Authorization for discontinuing the
monthly variance report at other Bergen Brunswig facilities must be obtained either from the Liaison
and Policy Section or the responsible DEA field oftice.

If you should have any questions on this matter, please do not nesitate to contact me at (213)
894-8267.

Sincerely,

Elindath A. Willis
Diversion Program Manager

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Washingion, D.C. 20537 “VACORATE SECURITY

OCT 29 1995

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Mr. Chris Zimmerman
Manager, Corporate Security
BSersen Brunswig Corporation
4500 Metropolitan Drive
Orange, California 92668

Dear Mr. Zimmerman:

Reference is made to your recent letter in which you requested
that Bergen Brunswig be permitted to replace its current telephonic
reporting cf suspicious orders with a daily report transmitted by
facsimile.

We have reviewed your proposal and feel that it could be a viable
alternative to the current system. It is our understanding that a
computer program has been created that can compare a customer’s
comtrolled substance orders to an average of the customer's orders for
tne prior four months. Customers’ orders that exceed their four menth
average order history by an as yet unspecified percentage would be
shown on a summary report that would’ be sent to the appropriate Drug
Enforcement Administration (DEA) field office on a daily basis. As
proposed, the summary report would include the cuscomer’s name,
address and DEA number; a description of the item ordered; the NDC
number; date ordered; active ingredient volume ordered and shipped;
and the customer’s "allowance” or average order.

We mote that, unlike the program that generates Bergen Brunswig’s
monthivy suspicious order report, the new program will compare the
customer's order to his or her previous orders rather than to orders
placed by other customers. It is therefore requested that each DEA
office continue to be provided with che monthly reperts in addition to
the daily facsimile reports. It would also be helpful to our
investigators if the quantity of drugs ordered were expressed in
cosage units rather than by the weight of the active ingredient.

We agree that it would be prudent to test this new progran before

instituting it nationwide and concur with your suggestion to use the
DEA Los Angeles Division office for the beta test. We would
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Mr. Chris Zimmerman Page Two

appreciate it if yeu would postpone starting the testing until after
February 1, 1997, as Ms. Betsy Willis, who has been selected for the
Diversion Program Manager position in the Los Angeles Field Division,
will not be reporting for duty until the end of January. [It is
suggested that you contact Ms. Willis after January 20, 1997 Co
discuss this matter further. Ms. Willis may be reached at
(213) 894-#876 after that date.
we 7

We look forward to working with you on this new project which we,
roo, hope will lead to a more efficient suspicious order reporting
system. If you have any questions please let me know.

   
 
 

Sincerely,

G. Thomas Gitchdl, Chief
Liaison and Policy Section
Office of Diversion Control

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Via Cernned Mail

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Ww Bergen Brunswig Carporetion

2000 Metrecoiitan Orive. Orange. CA 228é2 .7 +4) 385-000

September 30, 1996

Mr. G. Thomas Gitchel

Chief, Liaison and Policy Section
Drug Enforcement Administration
United States Department of Justice
Washington, DC 20537

Dear Mr. Gitchel,

The purpose of this letter is to introduce the Drug Enforcement Administration (DEA) to
an innovative new system under development by Bergen Brunswig Drug Company (BBDC)
to monitor and report customer orders of controlled substances which ft the suspicious order
criteria outlined in 21 CFR § 1301.74 (b).

By way of background, as you know BBDC participated in the development of a model
Excessive Purchase Report now in use by many distributor registrants. As used by BBDC, the
Excessive Purchase Report lists total customer purchases for the reported month which
exceed pre-determined multiples of the average monthly purchases of BBDC’s total customer
base. The program identifies purchases by individual DEA Drug Code and reads BBDC’s
sales files to calculate averages to be used as reporting criteria. The printed report (actually a
series of reports) separates pharmacy registrants and hospital registrants, and further -
separates purchases by ARCO class substances and non-ARCOS class substances within the
respective pharmacy and hospital reports. This report is produced in hard-copy form
monthly and is sent via certified mail to each DEA Field Office having responsibility for the
reporting BBDC locations. .

While feedback from different DEA users over the years has generally confirmed our belief
that this report, standing alone, ts a useful law enforcement tool, BBDC’s suspicious order
compliance program also involves the telephonic reporting of customer orders to DEA. in an
average year, BBDC logs over twelve thousand (12,000) telephone calls to DEA Field Offices
natonwide to orally report customer orders of controlled substances which it believes could °
ft the suspicious order criteria set forth in § 1301.74 (b). In nearly every instance, the .
telephonic contacts are made to report orders which later appear on the month-end Excessive
Purchase Report sent to DEA.

As you may imagine given the sheer number of BBDC’s contacts, DEA Field Office
response to the frequency and manner of BBDC’s contacts has been varied. Some Field
Ofsices have insisted that BBDC net telephonically report suspicious orders at all, but rather

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G. Thomas Gitchel - DEA
September 30, 1996
Page 2

 

to mail or fax copies of the order documents, 222 Forms or invoices to them instead. Some
offices have diplomatically attempted to offer guidance as to the types of orders that their
office would deem to be “reportable” in an effort to limit the number of telephone contacts.
These telephone contacts are inefficient, burdensome and costly both for BBDC and DEA, as
the telephone calls te up DEA Investigator time and consume precious admumustrative
resources.

I could appreciate DE.A’s belief that 12,000 BBDC telephone calls per year may be “over
doing it,” if not for the fact that the regulations clearly place the responsibility solely on the
registrant to disclose any orders which fit the suspicious order critena, and it has always been
BBDC’s position to adopt a conservative and thorough approach on matters involving
controlled substance regulatory compliance.

In June 1995, Steve Harrold, BBDC Director, Corporate Security, attended the DEA-
Industry Conference held in Naples, Florida. At this conference, in the Workshop entitied
“Improving Utilization of Existing Technology to Meet DEA Requirements” led by Michael
Moy, Mr. Harrold reported on the issue of telephonic suspicious order reporting and the
consequent requests BBDC had received from various DEA Field Offices to limit suspicious
order reports by telephone or to report orders in other ways (e.g. sending copies of orders by
U.S. Mail, Fax, etc.). It was Mr. Harrold’s impression that DEA would be amenable to
exploring the concept of electronic transmission of suspicious orders.

Aeainst this backdrop, BBDC set to work on the development of a suspicious order
=O

reporting program that would provide better quality information to DEA ina more efficent
manner.

Our plan involves the creation of a computer program that compares a customer's
controlled substance orders (expressed in metric units of the active ingredient) against a
standard representing an average of the customer’s prior four months of orders. Customer’ S
whose orders exceed by a specified percentage their prior four month average order history
would be printed on a summary report. BBDC’s mainframe computer in Orange, California
would automatically fax this report.simultaneously to each respective DEA Field Office daily
in the early AM hours after the distribution center has completed order processing activites.
When DEA offices open each day, the summary report would be waiting for their review.
DE.A offices could also elect to receive a month-end version of this report via U.S. Mail. The
summary report would show the customer name, address, DEA Number, tem Description,
NDC Number, Order Date, Active Ingredient Volume Ordered, Active Ingredient Shipped
and Customer “Allowance” (i.e. average of customers’ prior four months orders). ’

While the current month-end report compares a customer's purchases against an average
of calendar month sales to all like customers, the proposed report would compare a
customer's daily orders against that customer's prior orders. This analysis would
theoretically spot a customer who orders a singularly large amount of controlled substances.
The current month-end report would continue to look at the customer's purchases in light of
the entire customer base.

 

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G. Themas Gitchel - DEA
September 30, 1996

Page 3

Our intent is to receive DEA‘s permission to replace our current manner of daily
suspicious order reporting (e.g. U.S. Mail; Telephone Calls) with this daily electronic facsimile
report. We would like to have DEA input on the final product because DEA will be the
primary users. One suggestion would be to coordinate with one of your Field Offices,
perhaps the Los Angeles Office, to meet with our project development team. Your field
office could beta test the report and provide us with input on aesthetics and content. There
are some key questions that DEA would need to provide input on before the reportis
finalized. One question would be the assignment of the percentage value that a customer's
order would have to exceed before that order would appear on the report. This value would
directly impact the size of the report. Working with DEA’s input, we hopefully will identity
the optimum percentage value that will yield DEA the highest quality information without
sacrificing administrative cost and efficiency. Once the Field Office test 8 concluded and the
recommendations incorporated into the final product, then we can coordinate with your
office to introduce the report to the entire DEA system.

Tom, we are excited about this opportunity to make constructive changes in our suspicious
order reporting program. By working ina partnership with your office, we can perhaps lead
the way to developing a new system that everyone feels cood about.

I will schedule a call to your office in about two weeks to follow-up on this letter and to
speak with you about how we can move forward.

Sincerely,
Ee ‘
tT
Chris Zimmerman
Manager, Corporate Security

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

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PS Form 3811, December 1994

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